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                                                                                                   INVOICE
                                                                                         From      Texas Appleseed
                                                                                                   1609 Shoal Creek Blvd
                                                                                                   Ste 201
                                                                                                   Austin, TX 78701




Invoice ID      58                                                                  Invoice For    Texas DFPS/HHSC
Issue Date      06/12/2024
Due Date        07/12/2024 (Net 30)
Subject         Texas Appleseed Monitoring Team; May 2024




Item Type        Description                                                            Quantity         Unit Price             Amount

Service          Texas Foster Care Court Monitoring - Travel (05/01/2024 -                49.19            $196.68           $9,674.65
                 05/31/2024)

Expense          Expenses for Texas Foster Care Court Monitoring - Travel                   1.00         $1,770.23           $1,770.23
                 (05/01/2024 - 05/31/2024)

Service          Texas Foster Care Monitoring (05/01/2024 - 05/31/2024)                2,657.19            $280.56         $745,496.75

Expense          Expenses for Texas Foster Care Monitoring (05/01/2024 -                    1.00           $379.30             $379.30
                 05/31/2024)


                                                                                                   Amount Due           $757,320.93




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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                                                                                                     INVOICE
                                                                                           From      Texas Appleseed
                                                                                                     1609 Shoal Creek Blvd
                                                                                                     Ste 201
                                                                                                     Austin, TX 78701




Invoice ID      58                                                                    Invoice For    Texas DFPS/HHSC
Issue Date      06/12/2024
Due Date        07/12/2024 (Net 30)
Subject         Texas Appleseed Monitoring Team; May 2024




Item Type       Description                                                               Quantity         Unit Price          Amount

Service         Texas Foster Care Court Monitoring - Travel - 05/13/2024 - Travel /           4.50          $162.50           $731.25
                Victoria Foster

Service         Texas Foster Care Court Monitoring - Travel - 05/13/2024 - Travel /           4.00          $250.00          $1,000.00
                Lakesha Johnson

Service         Texas Foster Care Court Monitoring - Travel - 05/13/2024 - Travel /           4.50          $125.00           $562.50
                Catherine Morris

Service         Texas Foster Care Court Monitoring - Travel - 05/14/2024 - Travel /           0.58          $162.50            $94.25
                Victoria Foster

Service         Texas Foster Care Court Monitoring - Travel - 05/14/2024 - Travel /           0.50          $250.00           $125.00
                Lakesha Johnson

Service         Texas Foster Care Court Monitoring - Travel - 05/14/2024 - Travel /           1.75          $250.00           $437.50
                Dominique Wilbert

Service         Texas Foster Care Court Monitoring - Travel - 05/14/2024 - Travel /           0.58          $125.00            $72.50
                Catherine Morris

Service         Texas Foster Care Court Monitoring - Travel - 05/14/2024 - Travel /           0.58          $125.00            $72.50
                Catherine Morris

Service         Texas Foster Care Court Monitoring - Travel - 05/15/2024 - Travel /           0.58          $162.50            $94.25
                Victoria Foster

Service         Texas Foster Care Court Monitoring - Travel - 05/15/2024 - Travel /           0.50          $250.00           $125.00
                Lakesha Johnson

Service         Texas Foster Care Court Monitoring - Travel - 05/15/2024 - Travel /           1.75          $250.00           $437.50
                Dominique Wilbert

Service         Texas Foster Care Court Monitoring - Travel - 05/15/2024 - Travel /           0.58          $125.00            $72.50
                Catherine Morris



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Service      Texas Foster Care Court Monitoring - Travel - 05/16/2024 - Travel /    0.30    $162.50      $48.75
             Victoria Foster

Service      Texas Foster Care Court Monitoring - Travel - 05/16/2024 - Travel /    5.25    $162.50     $853.13
             Victoria Foster

Service      Texas Foster Care Court Monitoring - Travel - 05/16/2024 - Travel /    4.00    $250.00    $1,000.00
             Lakesha Johnson

Service      Texas Foster Care Court Monitoring - Travel - 05/16/2024 - Travel /    1.25    $250.00     $312.50
             Dominique Wilbert

Service      Texas Foster Care Court Monitoring - Travel - 05/16/2024 - Travel /    3.50    $125.00     $437.50
             Catherine Morris

Service      Texas Foster Care Court Monitoring - Travel - 05/16/2024 - Travel /    0.25    $125.00      $31.25
             Catherine Morris

Service      Texas Foster Care Court Monitoring - Travel - 05/20/2024 - Travel /    2.83    $197.50     $558.93
             Beth Mitchell

Service      Texas Foster Care Court Monitoring - Travel - 05/20/2024 - Travel /    2.00    $250.00     $500.00
             Daina Harper

Service      Texas Foster Care Court Monitoring - Travel - 05/21/2024 - Travel /    1.33    $197.50     $262.68
             Beth Mitchell

Service      Texas Foster Care Court Monitoring - Travel - 05/21/2024 - Travel /    1.00    $250.00     $250.00
             Ashley Hummel

Service      Texas Foster Care Court Monitoring - Travel - 05/21/2024 - Travel /    2.25    $250.00     $562.50
             Daina Harper

Service      Texas Foster Care Court Monitoring - Travel - 05/22/2024 - Travel /    3.33    $197.50     $657.68
             Beth Mitchell

Service      Texas Foster Care Court Monitoring - Travel - 05/22/2024 - Travel /    0.50    $250.00     $125.00
             Ashley Hummel

Service      Texas Foster Care Court Monitoring - Travel - 05/22/2024 - Travel /    1.00    $250.00     $250.00
             Daina Harper

Expense      Expenses for Texas Foster Care Court Monitoring - Travel               1.00   $1,770.23   $1,770.23
             (05/01/2024 - 05/31/2024)

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   4.00    $250.00    $1,000.00
             Review/Data Analysis/Verification Work / Shay Price

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   2.00    $250.00     $500.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 05/01/2024 - Meetings with              1.75    $250.00     $437.50
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Omarie Roque

Service      Texas Foster Care Monitoring - 05/01/2024 - Meetings with              1.00    $425.00     $425.00
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/01/2024 - EVE/WKND Report            1.00    $425.00     $425.00
             and Document Preparation / Deborah Fowler




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Service      Texas Foster Care Monitoring - 05/01/2024 - Meetings with               1.50   $250.00    $375.00
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Lakesha Johnson

Service      Texas Foster Care Monitoring - 05/01/2024 - Report and                  6.75   $250.00   $1,687.50
             Document Preparation / Deborah Borman

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    4.00   $250.00   $1,000.00
             Review/Data Analysis/Verification Work / Shay Price

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    6.25   $250.00   $1,562.50
             Review/Data Analysis/Verification Work / Omarie Roque

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    3.50   $250.00    $875.00
             Review/Data Analysis/Verification Work / Sherry Mojica

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    6.00   $250.00   $1,500.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 05/01/2024 - Report and                  1.50   $425.00    $637.50
             Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/01/2024 - Meetings with               0.17   $250.00     $42.50
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    0.75   $250.00    $187.50
             Review/Data Analysis/Verification Work / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    1.17   $250.00    $292.50
             Review/Data Analysis/Verification Work / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    3.00   $250.00    $750.00
             Review/Data Analysis/Verification Work / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    1.00   $325.00    $325.00
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    4.00   $325.00   $1,300.00
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    8.00   $300.00   $2,400.00
             Review/Data Analysis/Verification Work / Monica Benedict

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    2.00   $325.00    $650.00
             Review/Data Analysis/Verification Work / Clarice Rogers

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    3.50   $325.00   $1,137.50
             Review/Data Analysis/Verification Work / Clarice Rogers

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    6.50   $395.00   $2,567.50
             Review/Data Analysis/Verification Work / Linda Brooke

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   10.25   $325.00   $3,331.25
             Review/Data Analysis/Verification Work / Nancy Arrigona

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    6.00   $325.00   $1,950.00
             Review/Data Analysis/Verification Work / Viveca Martinez

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                    1.50   $395.00    $592.50
             Review/Data Analysis/Verification Work / Beth Mitchell




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Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   6.33   $250.00   $1,582.50
             Review/Data Analysis/Verification Work / Lakesha Johnson

Service      Texas Foster Care Monitoring - 05/01/2024 - Meetings with              2.00   $200.00    $400.00
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Nora Sawyer

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   0.50   $200.00    $100.00
             Review/Data Analysis/Verification Work / Nora Sawyer

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   5.50   $200.00   $1,100.00
             Review/Data Analysis/Verification Work / Nora Sawyer

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   2.50   $200.00    $500.00
             Review/Data Analysis/Verification Work / Adrian Gaspar

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   5.50   $200.00   $1,100.00
             Review/Data Analysis/Verification Work / Adrian Gaspar

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   5.50   $250.00   $1,375.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   1.00   $250.00    $250.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   1.50   $250.00    $375.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 05/01/2024 - Meetings with              3.00   $200.00    $600.00
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Alyssa Baquera

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   2.00   $200.00    $400.00
             Review/Data Analysis/Verification Work / Alyssa Baquera

Service      Texas Foster Care Monitoring - 05/01/2024 - Document                   1.50   $250.00    $375.00
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 05/01/2024 - Meetings with              1.00   $395.00    $395.00
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Linda Brooke

Service      Texas Foster Care Monitoring - 05/02/2024 - EVE/WKND Report            1.00   $425.00    $425.00
             and Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/02/2024 - Meetings with              0.75   $425.00    $318.75
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/02/2024 - Report and                 3.00   $425.00   $1,275.00
             Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Omarie Roque

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   6.00   $250.00   $1,500.00
             Review/Data Analysis/Verification Work / Sherry Mojica

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   6.00   $250.00   $1,500.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   2.00   $250.00    $500.00
             Review/Data Analysis/Verification Work / Mahiri Moody


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Service      Texas Foster Care Monitoring - 05/02/2024 - EVE/WKND Report            0.75   $425.00    $318.75
             and Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   6.00   $250.00   $1,500.00
             Review/Data Analysis/Verification Work / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   1.00   $250.00    $250.00
             Review/Data Analysis/Verification Work / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Shay Price

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   8.00   $300.00   $2,400.00
             Review/Data Analysis/Verification Work / Monica Benedict

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   4.00   $325.00   $1,300.00
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   2.00   $325.00    $650.00
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   7.00   $325.00   $2,275.00
             Review/Data Analysis/Verification Work / Clarice Rogers

Service      Texas Foster Care Monitoring - 05/02/2024 - Report and                 3.50   $250.00    $875.00
             Document Preparation / Deborah Borman

Service      Texas Foster Care Monitoring - 05/02/2024 - Meetings with              0.50   $250.00    $125.00
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Deborah Borman

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   5.50   $395.00   $2,172.50
             Review/Data Analysis/Verification Work / Linda Brooke

Service      Texas Foster Care Monitoring - 05/02/2024 - Meetings with              0.50   $395.00    $197.50
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Linda Brooke

Service      Texas Foster Care Monitoring - 05/02/2024 - Meetings with              0.75   $325.00    $243.75
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Nancy Arrigona

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   3.25   $325.00   $1,056.25
             Review/Data Analysis/Verification Work / Nancy Arrigona

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   2.50   $395.00    $987.50
             Review/Data Analysis/Verification Work / Beth Mitchell

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Lakesha Johnson

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Nora Sawyer

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Adrian Gaspar

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   7.00   $200.00   $1,400.00
             Review/Data Analysis/Verification Work / Alyssa Baquera



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Service      Texas Foster Care Monitoring - 05/02/2024 - Meetings with              1.00   $200.00    $200.00
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Alyssa Baquera

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   0.17   $250.00     $42.50
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   1.00   $250.00    $250.00
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 05/02/2024 - Document                   1.00   $250.00    $250.00
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 05/03/2024 - EVE/WKND Report            1.00   $425.00    $425.00
             and Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/03/2024 - Report and                 1.50   $425.00    $637.50
             Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   1.00   $425.00    $425.00
             Review/Data Analysis/Verification Work / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   6.00   $250.00   $1,500.00
             Review/Data Analysis/Verification Work / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   0.50   $250.00    $125.00
             Review/Data Analysis/Verification Work / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Shay Price

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   3.00   $300.00    $900.00
             Review/Data Analysis/Verification Work / Monica Benedict

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   7.00   $325.00   $2,275.00
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   8.00   $325.00   $2,600.00
             Review/Data Analysis/Verification Work / Clarice Rogers

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   6.75   $395.00   $2,666.25
             Review/Data Analysis/Verification Work / Linda Brooke

Service      Texas Foster Care Monitoring - 05/03/2024 - Meetings with              0.33   $250.00     $82.50
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Ashley Hummel

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   7.67   $250.00   $1,917.50
             Review/Data Analysis/Verification Work / Ashley Hummel

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Omarie Roque

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   3.25   $395.00   $1,283.75
             Review/Data Analysis/Verification Work / Beth Mitchell

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Lakesha Johnson




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Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Adrian Gaspar

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 05/03/2024 - Meetings with              0.25   $200.00     $50.00
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Alyssa Baquera

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   7.75   $200.00   $1,550.00
             Review/Data Analysis/Verification Work / Alyssa Baquera

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   5.00   $250.00   $1,250.00
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   0.25   $250.00     $62.50
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 05/03/2024 - Document                   1.50   $250.00    $375.00
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 05/04/2024 - EVE/WKND Report            4.00   $425.00   $1,700.00
             and Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/04/2024 - EVE/WKND Report            4.00   $425.00   $1,700.00
             and Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/05/2024 - Report and                 2.25   $250.00    $562.50
             Document Preparation / Deborah Borman

Service      Texas Foster Care Monitoring - 05/05/2024 - Document                   3.00   $325.00    $975.00
             Review/Data Analysis/Verification Work / Nancy Arrigona

Service      Texas Foster Care Monitoring - 05/05/2024 - EVE/WKND Report            4.00   $425.00   $1,700.00
             and Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/05/2024 - EVE/WKND Report            4.00   $425.00   $1,700.00
             and Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/06/2024 - Project Management         2.00   $325.00    $650.00
             & Planning / Viveca Martinez

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   7.50   $250.00   $1,875.00
             Review/Data Analysis/Verification Work / Ashley Hummel

Service      Texas Foster Care Monitoring - 05/06/2024 - Meetings with              0.50   $250.00    $125.00
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Ashley Hummel

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Omarie Roque

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   3.75   $395.00   $1,481.25
             Review/Data Analysis/Verification Work / Beth Mitchell

Service      Texas Foster Care Monitoring - 05/06/2024 - Meetings with              0.33   $395.00    $130.35
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Beth Mitchell

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Shay Price



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Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   2.00   $250.00    $500.00
             Review/Data Analysis/Verification Work / Sherry Mojica

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   9.50   $325.00   $3,087.50
             Review/Data Analysis/Verification Work / Nancy Arrigona

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   8.00   $325.00   $2,600.00
             Review/Data Analysis/Verification Work / Viveca Martinez

Service      Texas Foster Care Monitoring - 05/06/2024 - EVE/WKND Report            1.50   $425.00    $637.50
             and Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/06/2024 - Report and                 3.00   $425.00   $1,275.00
             Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 05/06/2024 - Report and                 6.42   $250.00   $1,605.00
             Document Preparation / Deborah Borman

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   8.00   $300.00   $2,400.00
             Review/Data Analysis/Verification Work / Monica Benedict

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   8.00   $325.00   $2,600.00
             Review/Data Analysis/Verification Work / Clarice Rogers

Service      Texas Foster Care Monitoring - 05/06/2024 - Meetings with              0.33   $325.00    $107.25
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Victoria Foster

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   6.00   $325.00   $1,950.00
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   6.50   $395.00   $2,567.50
             Review/Data Analysis/Verification Work / Linda Brooke

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   0.33   $250.00     $82.50
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   7.75   $250.00   $1,937.50
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   5.33   $250.00   $1,332.50
             Review/Data Analysis/Verification Work / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/06/2024 - Meetings with              0.33   $250.00     $82.50
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   0.50   $250.00    $125.00
             Review/Data Analysis/Verification Work / Dominique Wilbert

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Adrian Gaspar

Service      Texas Foster Care Monitoring - 05/06/2024 - Document                   8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Alyssa Baquera

Service      Texas Foster Care Monitoring - 05/07/2024 - Document                   2.00   $325.00    $650.00
             Review/Data Analysis/Verification Work / Viveca Martinez




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Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   9.25   $325.00   $3,006.25
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/07/2024 - EVE/WKND Report            1.00   $425.00    $425.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/07/2024 - Report and                 3.50   $425.00   $1,487.50
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/07/2024 - Report and                 5.25   $250.00   $1,312.50
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   6.50   $395.00   $2,567.50
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/07/2024 - Meetings with              0.33   $250.00     $82.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   7.67   $250.00   $1,917.50
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   5.50   $250.00   $1,375.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   4.25   $395.00   $1,678.75
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Dominique Wilbert


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Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/07/2024 - Document                   4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/08/2024 - EVE/WKND Report            1.00   $425.00    $425.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 05/08/2024 - Report and                 6.33   $250.00   $1,582.50
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/08/2024 - Meetings with              0.58   $325.00    $188.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Victoria Foster

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   6.00   $395.00   $2,370.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/08/2024 - Meetings with              1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/08/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Daina Harper




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Service       Texas Foster Care Monitoring - 05/08/2024 - Document          1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/08/2024 - Document          8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/08/2024 - Document          8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/08/2024 - Document          1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/08/2024 - Document          6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/08/2024 - Document          8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/08/2024 - Document          8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/08/2024 - Document          0.33   $250.00     $82.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/08/2024 - Document          6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/09/2024 - EVE/WKND Report   1.00   $425.00    $425.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          5.25   $250.00   $1,312.50
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          7.75   $325.00   $2,518.75
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/09/2024 - Report and        3.00   $425.00   $1,275.00
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/09/2024 - Report and        4.42   $250.00   $1,105.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          6.75   $325.00   $2,193.75
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          6.75   $395.00   $2,666.25
              Review/Data Analysis/Verification Work / Linda Brooke



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Service       Texas Foster Care Monitoring - 05/09/2024 - Document          2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          3.00   $200.00    $600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/09/2024 - Document          4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/10/2024 - Document          8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/10/2024 - Document          3.00   $300.00    $900.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/10/2024 - EVE/WKND Report   1.00   $425.00    $425.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/10/2024 - EVE/WKND Report   4.00   $425.00   $1,700.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/10/2024 - EVE/WKND Report   1.50   $425.00    $637.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/10/2024 - Document          8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/10/2024 - Report and        3.83   $250.00    $957.50
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/10/2024 - Document          4.83   $325.00   $1,569.75
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/10/2024 - Document          9.00   $395.00   $3,555.00
              Review/Data Analysis/Verification Work / Linda Brooke



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Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   0.33   $250.00     $82.50
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/10/2024 - Meetings with              0.83   $250.00    $207.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   4.17   $250.00   $1,042.50
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/10/2024 - Document                   3.50   $250.00    $875.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/11/2024 - Report and                 1.00   $250.00    $250.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/11/2024 - Document                   1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/12/2024 - Report and                 6.00   $250.00   $1,500.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/13/2024 - Report and                 4.00   $250.00   $1,000.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Ashley Hummel




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Service       Texas Foster Care Monitoring - 05/13/2024 - Meetings with              1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   0.75   $250.00    $187.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   0.17   $250.00     $42.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   7.08   $250.00   $1,770.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   0.87   $325.00    $282.75
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/13/2024 - Meetings with              0.83   $250.00    $207.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   2.50   $250.00    $625.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/13/2024 - Meetings with              0.83   $395.00    $327.85
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/13/2024 -                            1.50   $250.00    $375.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Catherine Morris

Service       Texas Foster Care Monitoring - 05/13/2024 - Document                   0.92   $250.00    $230.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/14/2024 - Meetings with              8.00   $250.00   $2,000.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Mahiri Moody

Service       Texas Foster Care Monitoring - 05/14/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/14/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/14/2024 - Document                   2.25   $325.00    $731.25
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/14/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers




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Service       Texas Foster Care Monitoring - 05/14/2024 - Report and            4.50   $250.00   $1,125.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/14/2024 - Document             10.00   $325.00   $3,250.00
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/14/2024 - Document             10.00   $250.00   $2,500.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/14/2024 - Document              4.00   $395.00   $1,580.00
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/14/2024 - Document              3.75   $250.00    $937.50
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/14/2024 - Document              6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/14/2024 - Document              3.75   $250.00    $937.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/14/2024 - Document              6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/14/2024 - Document              1.75   $250.00    $437.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/15/2024 - Project Management    2.00   $325.00    $650.00
              & Planning / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/15/2024 - Document              7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/15/2024 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/15/2024 - Document              8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/15/2024 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/15/2024 - EVE/WKND Report       1.50   $425.00    $637.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/15/2024 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/15/2024 - Document              8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/15/2024 - Document              8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/15/2024 - Report and            6.42   $250.00   $1,605.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/15/2024 - Document             10.00   $395.00   $3,950.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/15/2024 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody



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Service       Texas Foster Care Monitoring - 05/15/2024 - Document                    8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/15/2024 - Document                   10.25   $325.00   $3,331.25
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/15/2024 - Document                   10.50   $250.00   $2,625.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/15/2024 - Document                    4.50   $395.00   $1,777.50
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/15/2024 - Document                   10.08   $250.00   $2,520.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/15/2024 - Document                    4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/15/2024 - Document                    2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/15/2024 - Document                    2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/15/2024 - Document                    8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/15/2024 - Document                    8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/15/2024 - Document                   10.50   $250.00   $2,625.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                    8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/16/2024 - EVE/WKND Report             1.00   $425.00    $425.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/16/2024 - Report and                  4.00   $425.00   $1,700.00
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/16/2024 - EVE/WKND Report             1.00   $425.00    $425.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                    8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                    4.50   $325.00   $1,462.50
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                    8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/16/2024 - Report and                  4.50   $250.00   $1,125.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/16/2024 - Meetings with               1.42   $250.00    $355.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Deborah Borman




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Service       Texas Foster Care Monitoring - 05/16/2024 - Meetings with              1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Linda Brooke

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   8.75   $395.00   $3,456.25
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/16/2024 - Project Management         1.75   $395.00    $691.25
              & Planning / Linda Brooke

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   7.00   $200.00   $1,400.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/16/2024 - Meetings with              0.50   $200.00    $100.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   0.50   $200.00    $100.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   2.00   $325.00    $650.00
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   3.00   $395.00   $1,185.00
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/16/2024 - Document                   4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/17/2024 - EVE/WKND Report            0.50   $425.00    $212.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   5.50   $300.00   $1,650.00
              Review/Data Analysis/Verification Work / Monica Benedict




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Service       Texas Foster Care Monitoring - 05/17/2024 - Report and                 3.50   $250.00    $875.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   7.50   $395.00   $2,962.50
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/17/2024 - Project Management         1.00   $395.00    $395.00
              & Planning / Linda Brooke

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   2.00   $325.00    $650.00
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   6.50   $250.00   $1,625.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   6.50   $250.00   $1,625.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   4.00   $200.00    $800.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   4.00   $200.00    $800.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   1.50   $325.00    $487.50
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/17/2024 - Meetings with              0.83   $325.00    $269.75
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Victoria Foster

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   5.08   $325.00   $1,651.00
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/17/2024 - Meetings with              0.83   $250.00    $207.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   3.83   $395.00   $1,512.85
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/17/2024 - Meetings with              0.83   $395.00    $327.85
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   4.25   $250.00   $1,062.50
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   0.67   $250.00    $167.50
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   0.83   $250.00    $207.50
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/17/2024 - Meetings with              0.90   $250.00    $225.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Ashley Hummel


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Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   6.25   $250.00   $1,562.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   0.83   $250.00    $207.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   0.83   $250.00    $207.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/17/2024 - EVE/WKND Meetings          0.25   $425.00    $106.25
              with agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 05/17/2024 - Report and                 3.50   $425.00   $1,487.50
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   1.50   $250.00    $375.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   0.33   $250.00     $82.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/17/2024 - Document                   0.83   $250.00    $207.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/18/2024 - Report and                 2.00   $250.00    $500.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/18/2024 - EVE/WKND                   4.00   $425.00   $1,700.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 05/18/2024 - EVE/WKND                   4.00   $425.00   $1,700.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 05/18/2024 - Document                   3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/19/2024 -                            0.50   $300.00    $150.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. / Robert
              McManus

Service       Texas Foster Care Monitoring - 05/19/2024 - EVE/WKND Report            2.50   $425.00   $1,062.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/19/2024 - EVE/WKND Report            4.00   $425.00   $1,700.00
              and Document Preparation / Deborah Fowler




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Service       Texas Foster Care Monitoring - 05/19/2024 - EVE/WKND Report            2.50   $425.00   $1,062.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/19/2024 - Meetings with              0.75   $325.00    $243.75
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   0.52   $300.00    $156.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   0.07   $300.00     $21.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   0.42   $300.00    $126.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/20/2024 - Report and                 7.00   $250.00   $1,750.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/20/2024 - Meetings with              1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Deborah Borman

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   7.75   $325.00   $2,518.75
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/20/2024 - Meetings with              0.50   $325.00    $162.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/20/2024 - Meetings with              0.75   $395.00    $296.25
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Linda Brooke

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   7.50   $395.00   $2,962.50
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   1.00   $325.00    $325.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                   7.33   $250.00   $1,832.50
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/20/2024 - Meetings with              0.67   $250.00    $167.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Lakesha Johnson




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Service       Texas Foster Care Monitoring - 05/20/2024 - EVE/WKND Report             1.50   $425.00    $637.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/20/2024 - Report and                  3.00   $425.00   $1,275.00
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/20/2024 - Meetings with               1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                    8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                    7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                    4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                    1.25   $250.00    $312.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                    4.00   $200.00    $800.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                    4.00   $200.00    $800.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                    4.00   $200.00    $800.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                    8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/20/2024 - Document                    3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                    1.00   $300.00    $300.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/21/2024 - Report and                 10.25   $250.00   $2,562.50
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                    7.50   $395.00   $2,962.50
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                    1.50   $395.00    $592.50
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                    8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                    8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                    6.50   $395.00   $2,567.50
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/21/2024 - Project Management          1.50   $395.00    $592.50
              & Planning / Linda Brooke

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                    8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers


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Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   9.50   $250.00   $2,375.00
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   1.00   $325.00    $325.00
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   5.50   $250.00   $1,375.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/21/2024 - EVE/WKND Report            1.50   $425.00    $637.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/21/2024 - Report and                 3.50   $425.00   $1,487.50
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   3.50   $200.00    $700.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   1.42   $250.00    $355.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   5.58   $250.00   $1,395.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   7.50   $250.00   $1,875.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/21/2024 - Meetings with              2.50   $200.00    $500.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   6.00   $200.00   $1,200.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   7.50   $200.00   $1,500.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/21/2024 - Meetings with              0.50   $200.00    $100.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/21/2024 - Document                   1.33   $250.00    $332.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   3.50   $395.00   $1,382.50
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   5.00   $300.00   $1,500.00
              Review/Data Analysis/Verification Work / Monica Benedict




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Service       Texas Foster Care Monitoring - 05/22/2024 - Project Management         3.00   $300.00    $900.00
              & Planning / Monica Benedict

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/22/2024 - Meetings with              3.00   $395.00   $1,185.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Linda Brooke

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   5.00   $395.00   $1,975.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/22/2024 - Report and                 1.75   $395.00    $691.25
              Document Preparation / Linda Brooke

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/22/2024 - Report and                 5.42   $250.00   $1,355.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   4.50   $325.00   $1,462.50
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/22/2024 - Meetings with              0.50   $250.00    $125.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   4.50   $250.00   $1,125.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/22/2024 - EVE/WKND Report            1.50   $425.00    $637.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/22/2024 - Meetings with              0.50   $425.00    $212.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/22/2024 - Report and                 2.50   $425.00   $1,062.50
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   0.33   $250.00     $82.50
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   6.08   $250.00   $1,520.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   3.50   $250.00    $875.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/22/2024 - Document                   3.50   $250.00    $875.00
              Review/Data Analysis/Verification Work / Daina Harper



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Service       Texas Foster Care Monitoring - 05/22/2024 - Document             8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/22/2024 - Document             8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/22/2024 - Project Management   3.00   $325.00    $975.00
              & Planning / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/22/2024 - Document             7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/22/2024 - Document             1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/22/2024 - Document             4.75   $250.00   $1,187.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/22/2024 - Document             0.33   $250.00     $82.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             0.83   $300.00    $249.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             0.33   $300.00     $99.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             0.30   $300.00     $90.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             0.50   $300.00    $150.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             0.23   $300.00     $69.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             0.30   $300.00     $90.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             3.33   $395.00   $1,315.35
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             0.75   $395.00    $296.25
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/23/2024 - Report and           4.50   $395.00   $1,777.50
              Document Preparation / Linda Brooke

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             3.50   $395.00   $1,382.50
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/23/2024 - Report and           4.25   $250.00   $1,062.50
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/23/2024 - Document             8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque



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Service       Texas Foster Care Monitoring - 05/23/2024 - Report and                 4.00   $250.00   $1,000.00
              Document Preparation / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/23/2024 - EVE/WKND Report            1.50   $425.00    $637.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/23/2024 - Report and                 4.50   $425.00   $1,912.50
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   6.00   $200.00   $1,200.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   2.00   $200.00    $400.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   2.25   $250.00    $562.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   0.75   $250.00    $187.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/23/2024 - Meetings with              8.00   $325.00   $2,600.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/23/2024 - Meetings with              1.25   $325.00    $406.25
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/23/2024 - Document                   5.17   $250.00   $1,292.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/24/2024 - Document                   2.75   $325.00    $893.75
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/24/2024 - Meetings with              0.75   $395.00    $296.25
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Linda Brooke

Service       Texas Foster Care Monitoring - 05/24/2024 - Document                   4.25   $395.00   $1,678.75
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/24/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers



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Service       Texas Foster Care Monitoring - 05/24/2024 - Report and        6.33   $250.00   $1,582.50
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/24/2024 - Document          6.50   $250.00   $1,625.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/24/2024 - Report and        3.00   $250.00    $750.00
              Document Preparation / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/24/2024 - Document          8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/24/2024 - Document          3.50   $325.00   $1,137.50
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/24/2024 - EVE/WKND Report   1.50   $425.00    $637.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/24/2024 - Report and        2.00   $425.00    $850.00
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/24/2024 - Document          8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/24/2024 - Document          4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/24/2024 - Document          4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/24/2024 - Document          7.50   $200.00   $1,500.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/24/2024 - Document          8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/25/2024 - EVE/WKND Report   4.00   $425.00   $1,700.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/25/2024 - EVE/WKND Report   3.50   $425.00   $1,487.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/26/2024 - Report and        4.00   $250.00   $1,000.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/26/2024 - Report and        4.75   $395.00   $1,876.25
              Document Preparation / Linda Brooke

Service       Texas Foster Care Monitoring - 05/26/2024 - EVE/WKND Report   4.50   $425.00   $1,912.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/26/2024 - EVE/WKND Report   3.50   $425.00   $1,487.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/26/2024 - Report and        3.00   $325.00    $975.00
              Document Preparation / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/27/2024 - Document          0.50   $300.00    $150.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/27/2024 - Report and        7.25   $395.00   $2,863.75
              Document Preparation / Linda Brooke



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Service       Texas Foster Care Monitoring - 05/27/2024 - Report and                 4.33   $250.00   $1,082.50
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/27/2024 - EVE/WKND Report            4.00   $425.00   $1,700.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/27/2024 - EVE/WKND Report            2.50   $425.00   $1,062.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/27/2024 - EVE/WKND Report            3.00   $425.00   $1,275.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/27/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/27/2024 - Report and                 8.00   $325.00   $2,600.00
              Document Preparation / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/27/2024 - Document                   0.08   $250.00     $20.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/27/2024 - Document                   4.58   $250.00   $1,145.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   1.75   $395.00    $691.25
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 05/28/2024 - Meetings with              0.50   $250.00    $125.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Deborah Borman

Service       Texas Foster Care Monitoring - 05/28/2024 - Report and                 7.00   $250.00   $1,750.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/28/2024 - Report and                 8.00   $250.00   $2,000.00
              Document Preparation / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/28/2024 - Meetings with              0.50   $395.00    $197.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Linda Brooke

Service       Texas Foster Care Monitoring - 05/28/2024 - Report and                 5.50   $395.00   $2,172.50
              Document Preparation / Linda Brooke

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   6.50   $250.00   $1,625.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   1.50   $250.00    $375.00
              Review/Data Analysis/Verification Work / Daina Harper




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Service       Texas Foster Care Monitoring - 05/28/2024 - EVE/WKND Report            1.50   $425.00    $637.50
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/28/2024 - Meetings with              0.50   $425.00    $212.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/28/2024 - Report and                 1.50   $425.00    $637.50
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   7.00   $300.00   $2,100.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/28/2024 - Project Management         1.00   $300.00    $300.00
              & Planning / Monica Benedict

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/28/2024 - Report and                 8.00   $325.00   $2,600.00
              Document Preparation / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/28/2024 - Document                   0.25   $250.00     $62.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/29/2024 - EVE/WKND Meetings          1.50   $250.00    $375.00
              with agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman

Service       Texas Foster Care Monitoring - 05/29/2024 - Report and                 1.00   $250.00    $250.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/29/2024 - Report and                 8.00   $250.00   $2,000.00
              Document Preparation / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/29/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/29/2024 - Document                   8.50   $250.00   $2,125.00
              Review/Data Analysis/Verification Work / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/29/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/29/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/29/2024 - Report and                 6.00   $395.00   $2,370.00
              Document Preparation / Linda Brooke

Service       Texas Foster Care Monitoring - 05/29/2024 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Daina Harper



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Service       Texas Foster Care Monitoring - 05/29/2024 - Report and                 4.00   $425.00   $1,700.00
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/29/2024 - EVE/WKND Report            2.00   $425.00    $850.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/29/2024 - Document                   8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/29/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/29/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/29/2024 - Meetings with              0.75   $200.00    $150.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/29/2024 - Document                   7.25   $200.00   $1,450.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/29/2024 - Report and                 8.00   $325.00   $2,600.00
              Document Preparation / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   0.17   $300.00     $51.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   0.83   $300.00    $249.00
              Review/Data Analysis/Verification Work / Robert McManus

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   1.25   $250.00    $312.50
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   5.00   $325.00   $1,625.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   0.75   $250.00    $187.50
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/30/2024 - Meetings with              1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Omarie Roque

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 05/30/2024 - Report and                 1.00   $250.00    $250.00
              Document Preparation / Deborah Borman

Service       Texas Foster Care Monitoring - 05/30/2024 - Meetings with              1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Linda Brooke

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   6.00   $395.00   $2,370.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   7.25   $250.00   $1,812.50
              Review/Data Analysis/Verification Work / Daina Harper



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Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   0.83   $250.00    $207.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/30/2024 - EVE/WKND Report            1.00   $425.00    $425.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/30/2024 - Report and                 3.50   $425.00   $1,487.50
              Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   1.00   $325.00    $325.00
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   4.25   $325.00   $1,381.25
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/30/2024 - Meetings with              0.83   $325.00    $269.75
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Victoria Foster

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/30/2024 - Meetings with              1.00   $325.00    $325.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/30/2024 - Meetings with              0.50   $325.00    $162.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/30/2024 -                            0.83   $250.00    $207.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   0.33   $250.00     $82.50
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   5.67   $250.00   $1,417.50
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/30/2024 - Report and                 7.17   $250.00   $1,792.50
              Document Preparation / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/30/2024 - Meetings with              0.83   $250.00    $207.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   7.17   $250.00   $1,792.50
              Review/Data Analysis/Verification Work / Lakesha Johnson




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Service       Texas Foster Care Monitoring - 05/30/2024 - Meetings with              0.83   $250.00    $207.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Lakesha Johnson

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/30/2024 - Meetings with              1.25   $325.00    $406.25
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Viveca Martinez

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   0.92   $250.00    $230.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/30/2024 - Document                   5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 05/31/2024 - EVE/WKND Report            1.00   $425.00    $425.00
              and Document Preparation / Deborah Fowler

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   6.00   $200.00   $1,200.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   1.25   $325.00    $406.25
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   1.25   $325.00    $406.25
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   3.25   $325.00   $1,056.25
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Dominique Wilbert

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Ashley Hummel

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   5.25   $200.00   $1,050.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/31/2024 - Meetings with              0.75   $200.00    $150.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Alyssa Baquera

Service       Texas Foster Care Monitoring - 05/31/2024 - Document                   8.00   $395.00   $3,160.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 05/31/2024 - Project Management         1.00   $395.00    $395.00
              & Planning / Linda Brooke



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Service          Texas Foster Care Monitoring - 05/31/2024 - Document                      7.00            $200.00           $1,400.00
                 Review/Data Analysis/Verification Work / Nora Sawyer

Service          Texas Foster Care Monitoring - 05/31/2024 - Document                      1.00            $200.00             $200.00
                 Review/Data Analysis/Verification Work / Nora Sawyer

Service          Texas Foster Care Monitoring - 05/31/2024 - Document                      8.00            $250.00           $2,000.00
                 Review/Data Analysis/Verification Work / Lakesha Johnson

Service          Texas Foster Care Monitoring - 05/31/2024 - Document                      2.67            $250.00             $667.50
                 Review/Data Analysis/Verification Work / Catherine Morris

Expense          Expenses for Texas Foster Care Monitoring (05/01/2024 -                   1.00            $379.30             $379.30
                 05/31/2024)

Expense          Rounding correction                                                       1.00             -$0.02               -$0.02


                                                                                                  Amount Due            $757,320.93




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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Expense report for                                                 Texas Appleseed
Invoice 58

05/01/2024                                 $18.21

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Clarice Rogers
Chick-Fil-A, meal for two (Clarice and Shay) This
expense was incurred on 4/10/2024




05/01/2024                                $203.68

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Clarice Rogers
Travel to CPA site - from 1609 Shoal Creek Blvd,
Austin, TX 78701 to 5301 W Hwy 31 Corsicana,
TX 75110. Lifeline Children and Family Services.
This expense was incurred on 4/10/2024 [304.0
miles]




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05/16/2024                             $422.58

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Lakesha Johnson
Hotel Receipt Hyatt Place




05/16/2024                             $422.58

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Victoria Foster




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05/16/2024                             $422.58

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Catherine Morris
Hyatt Hotel Receipt




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05/23/2024                             $280.60

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Beth Mitchell




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05/23/2024                                 $379.30

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Other
Person     Beth Mitchell
rental car. The bill attached was too high and
after explaining the over charge with the rental
car company the reduced the bill by $121/71




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